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     United States Court of Appeals
                             for the
                   Second Circuit
           ————————————
                        THOMAS COLE,
                        Plaintiff-Appellant,
                               – v. –

FOXMAR, INC. D/B/A EDUCATION AND TRAINING RESOURCES,
                    Defendant-Appellee.


  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF VERMONT


          BRIEF OF DEFENDANT-APPELLEE

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               RULE 26.1 CORPORATE DISCLOSURE STATEMENT

        Foxmar, Inc. does not have any parent corporation or any publicly held

corporation that owns 10% or more of its stock.




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                         ISSUES PRESENTED FOR REVIEW

    1. In July 2018, Appellant Thomas Cole walked off the job just before the start

        of his shift as a dormitory resident counselor, responsible for at-risk youth.

        The Center Director contemporaneously noted that this was “not the first time

        Tom has abandoned his job post” and that he “created a hardship by leaving

        the center without coverage.” Foxmar accordingly terminated Cole, but

        nonetheless, in July 2021 a jury found Foxmar liable under safety and sick

        time anti-retaliation provisions of Vermont law. That jury also awarded Cole

        more wage damages than he requested, which under Vermont law is “too

        speculative” an award. The jury also awarded Cole $3,000,000 in punitive

        damages, the largest punitive damages award in an employment case in state

        history. The district court set aside the damages awards and ordered a new

        trial for damages. Was that an abuse of discretion?

    2. Did the district court abuse its discretion in ordering a new trial for damages

        instead of remittitur? If the district court did so, what would the remedy be

        after the new trial for damages has already taken place?

    3. In the new trial for damages, did the district court abuse its discretion in

        excluding hearsay regarding that students were feeling ill due to what they

        ate, and that a student at the worksite once was found in possession of a knife

        with a three-inch blade?



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                             STATEMENT OF THE CASE

        As in any case that makes its way to trial, the parties dispute the issue at its

core: whether Foxmar terminated Thomas Cole for walking off the job on July 24,

2018, or whether it terminated him because he had made complaints protected under

the Vermont Occupational Safety and Health Act (VOSHA) and the Vermont

Earned Sick Time Act (VESTA). Foxmar still disputes this issue. However, in 2021,

a jury found that Foxmar retaliated against Cole in violation of VOSHA and VESTA.

That finding has not been appealed, and is not at issue here.

        What is at issue is the remainder of the 2021 jury’s verdict, finding that Cole

was due $140,943 in lost wages, $75,000 of emotional distress damages, and

$3,000,000 in punitive damages. After the trial, Foxmar filed a renewed motion for

a directed verdict or new trial under Rules 50 and 59. And while the district court

did not disturb the jury’s liability verdict, it found the jury’s damages verdict violated

Vermont law.

        Regarding the jury’s wages award, the court quoted the Vermont Supreme

Court’s holdings that “[w]hen front pay is allowed, the damages must be limited to

a reasonable period of time, and the amount must not be speculative,” and that a

wages award may be “too speculative because it exceeds the amount claimed by

plaintiff.” SA25 (quoting Haynes v. Golub Corp., 692 A.2d 377, 383 (Vt. 1997)).

Applying those holdings to the facts of the case, the court first noted that the jury’s


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wage award of $140,943 exceeded Cole’s request for wages worked until the age of

70, and that the overage “cannot be explained by an adverse tax offset or Plaintiff’s

post hoc justifications,” which the court found all to be speculative. SA25-26. The

court then considered the fact that even if the jury had been seeking to award pay to

Cole to the age of seventy,1 “no rational view of the evidence supports a conclusion

that Plaintiff would have worked [for Foxmar] until he was seventy.” SA27. The

court noted that Plaintiff’s work history—changing jobs every three years prior to

Foxmar, and every three months after working at Foxmar, and which also included

Plaintiff failing to mitigate his damages by quitting two managerial positions—did

not “support[] a conclusion that he would have remained in the same position

throughout his career.” Id.

        The district court then turned to the jury’s $3 million punitive damages award,

applying both Vermont law and the Due Process Clause of the Fourteenth

Amendment.2 SA27-28. Reviewing the evidence presented at trial, the court found

that “Defendant’s conduct does not support the amount of punitive damages

awarded, which reflects a high degree of reprehensibility and virtually no mitigating

circumstances,” and noted that the verdict was “one of the largest … in Vermont

1
  In closing argument, Plaintiff requested pay to the age of seventy (Joint Appendix
“JA” 619), and Plaintiff’s expert’s damages chart maxed out at $136,716 for Plaintiff
working to the age of seventy (JA848).
2
  The district court cited Sweet v. Roy, 801 A.2d 694 for the proposition that it
“maintain[ed] the Vermont standard is more deferential to the jury.” SA28.

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history.” SA29. The court then considered the high ratio of the punitive award to the

compensatory damages award (which was already “unsupported by the evidence and

in excess of the amount Plaintiff requested,” thus inflating the denominator and

masking an even higher ratio). SA30-31. It found that the Vermont Supreme Court

has only upheld ratios of 10:1 or higher where “the compensatory damages have

been relatively small,” such as $300 or $10,000, and where the conduct was

“particularly egregious,” and that neither was present in the instant case. SA30-31.

Finally, the court considered the fact that penalties for VESTA and VOSHA

violations are $5,000 and $126,749, respectively, and that the jury’s “punitive

damage award dwarfs these civil penalties which reflect the Vermont Legislature’s

determination of an appropriate punishment.” SA31-32. As a result, the court found

the punitive damages award to be “grossly excessive,” “a miscarriage of justice,”

and “beyond the outermost limit of the due process guarantee.” SA32.

        The court then considered, under Rule 59, whether it should grant remittitur

or a new trial for damages. It noted that in some cases, “the size of a jury’s verdict

may be so excessive as to be inherently indicative of passion or prejudice and to

require a new trial.” SA32-33 (citations omitted). It also noted examples of where

the appellate court had found that remittitur was improper when it was a high

proportion of the damages, such as reducing a $5 million award by $4.35 million, or

reducing a $1.9 million award by $1.65 million. SA33. Thus, the court found that


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“[b]ecause of the grossly excessive award of punitive damages, coupled with awards

of back pay and front pay unsupported by the evidence,” any remittitur would be an

outsized proportion to the damages of the case, and so a new trial was the proper

remedy. Id.

        The road to the new trial was long and hard fought. Plaintiff first moved for

reconsideration of the district court’s decision, but the district court brought a swift

end to that effort, holding: “Under Vermont law, an award of punitive damages is

‘manifestly and grossly excessive,’ when it is ‘so great ... as to indicate that it is the

result of perverted judgment, accident, or gross mistake.’ That standard is satisfied

in this case.”3

        Plaintiff then entered into a settlement agreement—but then backed out of said

settlement agreement, resulting in a motion to enforce the agreement, which the

court denied. JA16 (Docket Nos. 170-76). Defendant also made a Rule 68 offer of

judgment in the amount of $375,000 that Plaintiff did not accept. (JA 19, Docket

No. 215). That gamble did not pay off, however, when the jury only awarded

Plaintiff $35,000 in back pay and $20,000 in emotional distress damages at the

damages retrial. SA35.




3
 Dkt. No. 154, at 4 (quoting Coty v. Ramsey Assocs., Inc., 546 A.2d 196,206 (Vt.
1988) (quoting Woodhouse v. Woodhouse, 130 A. 758, 789 (Vt. 1925))).

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        We thus return to the issue in dispute: Did the district court abuse its discretion

in ordering a new trial for damages? In order to examine this issue, it is necessary

for this Court to review the facts that were before the district court. But because the

“Facts of the Case” in Appellant’s brief is replete with misstatements 4 and

omissions,5 it is necessary for Foxmar to provide the relevant facts—as set forth at

trial—to the Court.

                                  RELEVANT FACTS

    A. Background Facts
        Foxmar works with disadvantaged youth to provide education and job training

opportunities. JA504. There are about 125 Job Corps centers throughout the country,

and the U.S. Department of Labor (“DOL”) contracts with companies, including

Foxmar, to run many of the Job Corps Centers. JA 505-06. The Centers can be

described as a mix of a “high school and a vocational school,” with training to help

the youth get into a community college, in a residential setting with students aged

16 to 24 living in dormitories. JA506, 516.


4
  For example, Appellant claims the district court “found” that Foxmar had a
corporate culture of suppressing legitimate complaints (Br. 12), when the district
court did not make such a finding; it simply noted that Appellant had presented
evidence in support of that contention. JA28. See also note 12 and p. 26, infra.
5
  Despite the fact that the crux of the case relies on whether Appellant abandoned
his job on July 24, 2018, when he abruptly left right before the start of his shift,
leaving minors in his assigned dorm unattended, Appellant devotes less than 10
words to this issue, casually stating that Appellant “left work early but notified the
Center Director.” Br. 7.
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        Foxmar took over operations at the Northlands Job Corps Center on June 1,

2018. JA514. When Foxmar took over the Center, the conditions were “a mess.” JA

509. There was no employee scheduling system. JA509-10. The previous contractor,

CHP, had done such a poor job with Northlands that the DOL ended CHP’s contract

early, and installed a temporary contractor for 14 months, Chugach, from which

Foxmar took over. JA509. At that time, the Northlands center was ranked near the

bottom of the 125 Job Corps Centers, somewhere between 90 and 100. JA507-08.

By the time of trial three years later in July 2021, Foxmar had improved Northlands’

ranking to between 40 and 50.6 JA508.

        Alicia Grangent was the Center Director in July of 2018; she had been serving

in that position in acting or actual capacity since mid-2017. JA238-39. Appellant

Cole was originally hired into the position of Residential Counselor by Chugach in

April 2018, and was retained by Foxmar when it took over on June 1, 2018. JA67-

68, 179. Before the time that Foxmar took over, there were already issues with Cole

calling the students “ghetto” (JA548), and abandoning his job post (JA826).




6
 Foxmar has a history of improving poorly performing multiple Job Corps Centers.
JA507. And indeed, by the time of the damages trial in December 2022, the ranking
of the Northlands Center had improved to number 6 in the country. December 2022
Trial Transcript p. 741 (Doc. No. 224).
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    B. The Events of July 23, 2018

        Cole worked the 3:00 PM to midnight shift. JA76. His regular assignment was

Dorm 21. JA81. On the afternoon of July 23, 2018, the Residential Counselor

assigned to Dorm 24, Paige Howell, was out sick, and Cole was assigned to cover

her dorm, Dorm 24, as well as Dorm 21. JA82. Cole testified that he felt he was

“spread very thin” covering both dorms. JA211-12. It was the duty of the dorm’s

Residential Counselor to ensure the dorm had sufficient cleaning supplies. JA91.

Cole testified that he kept his dorm, Dorm 21, fully stocked. JA187. However, on

the evening of July 23, he found that Dorm 24 did not have any cleaning supplies.

JA92. Cole could have, but did not, get cleaning supplies from Dorm 21. JA193.

Instead, once the students informed his supervisor, Angela Mobley, that Dorm 24

was out of cleaning supplies, Mobley immediately went and got cleaning supplies

for the students in Dorm 24. JA189.

        In addition, during the pre-shift meeting of employees with Mobley on July

23, 2018, Cole contends that employee Tori Ramon said that she was not feeling

well, and asked for everyone to be understanding, and Mobley responded by saying,

“you folks in Vermont need to take your medicine.” JA82-83. Ramon did not ask

Mobley if she could go home. JA183. Cole later overhead Mobley tell Ramon as

they were walking in the hallway, “we will find somebody so that you can go home.”

JA86. However, he did not hear anything said before or after that statement, and did


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not hear any response from Ramon. JA185. When Cole checked out with Ramon for

the night, he did not ask her why she was still at work, or if she felt better. JA194.

    C. Cole Walks Off the Job on July 24, 2018
        On the morning of July 24, Cole reached out to Grangent’s assistant, Brian

Lacharite, and asked to make an appointment with Grangent. JA195. Lacharite

scheduled a meeting for that morning. Id. At the meeting with Grangent, Cole

complained to her about the fact that Dorm 24 had not had cleaning supplies the

night before. Id. Cole testified that he could not recall whether he made any

complaint about employees having to find their own replacements before going

home. JA196. Instead, he recalled that he complained about having to work in the

proximity of sick employees (like Tori Ramon), and Grangent responded, “Tom,

we’re not asking you to do that. Nobody is asking you to do that.” Id.

        Shortly before the start of Cole’s 3:00 shift, at the in-briefing, he observed

Howell and Ramon enter the room, looking like they were not feeling well. JA198.

In response, Cole left immediately, without waiting for his supervisor, Mobley, or

even talking with Howell or Ramon. Id. He got in his car and drove to Grangent’s

office, wanting to talk with her because he was “not satisfied” with the outcome of

their conversation from that morning. JA114. On the way to her office, he

encountered Grangent, almost running her over with his car. JA433. Cole told

Grangent about Howell coming to work and curling up in a ball on the couch. JA247.


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He told Grangent, “I’m not up for this tonight,” or “I can’t do this tonight.” JA198-

99. Grangent asked him to “hold on” and to talk and work it out, but he just

responded that he needed to go. JA247. Cole testified that Grangent then had an

incoming call, and instead of waiting for her, he drove away. JA199-200. He then

drove to Grangent’s office and told Lacharite that he was leaving, and that she “could

follow up with me if she would like to.” JA200. Ramon then called Cole, asking

“where are you?” JA201. Cole responded, “Talk to Alicia. Alicia can explain,” and

then ended the call. Id.

        Grangent then saw Howell, let her know that Cole had reported that she was

sick, and sent Howell home. JA434-35. Grangent also talked with Mobley, who was

upset with Cole leaving the dorm short-staffed, and said that Cole should be

terminated for doing so. JA250. Grangent also tried calling Cole twice, later on July

24, and again on July 25, leaving a message; Cole did not call back. JA435. Human

Resources Director Bernadette Brookes also tried calling Cole several times, but

Cole did not call back. JA376, 446.

    D. Foxmar Terminates Cole on July 27, 2018

        On the morning of July 27, at 10:08 AM, Mobley emailed Brookes, stating:

“On Monday, July 23, 2018,7 I learned that Tom reported to work but left the center



7
 There is no dispute that this date is incorrect; Cole left on Tuesday, July 24, not
Monday July 23.
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before brief-in at 3:00 p.m. … He abandon[ed] his job and I had to quickly fill his

shift to provide safety and security for students during the prime shift.” JA824.

        At 10:41 AM, Grangent responded, including Executive Vice President

Howard Harmon and Vice President Scott Dunham: “this is not the first time that

Tom has abandoned his job post. Once under Chugach and now under ETR. I realize

that the first one doesn’t count. However, he has created a hardship by leaving the

center without coverage. We terminate students under the UE for the exact same

thing (job abandonment).” JA826. Grangent continued: “Not only did he [not] give

staff the opportunity to address the issue he doesn’t even work the same dormitory

as the ill employee that was sent home. Creating another vacancy.” JA826.

        At 11:21 AM, Harmon responded: “At this point, I would prefer to release,

but I will let Alicia and Bernadette make the final call.” JA828.

        At 12:12 PM, Brookes responded: “My recommendation and that of the

Center Director is to sever ties effective today Friday June 27, 2018.” Id.

        Brookes met with Cole at about 2:00 PM that afternoon, at which time she let

him know that he was terminated. JA 133-35. Once she did, Cole asked Brookes if

she had received a letter from him, but she had not received any such letter. JA135.

(Earlier in the day, Cole had sent an email to Mari Trybendis and Alicia Grangent

requesting a reassignment. JA770, 772.)




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    E. Evidence Regarding Compensatory Damages

        Cole was hired at Foxmar at an annual salary of $50,000. JA709. After six

months, he was to receive an incentive payment of $1,600 and his salary would

increase to $53,330. Id.

        At trial, Cole’s damages expert Richard Heaps opined that if Cole had worked

at Foxmar through age 70, then he would be due $100,227 in back and front wages,

for a total of $136,716 when accounting for interest and taxes. JA344, 845. However,

Heaps provided no opinion as to how long he expected Cole would have continued

working at Foxmar. JA353-56. In addition, Heaps provided no consideration of the

fact that Cole had been seeking to transfer out of his Residential Counselor position

when he was terminated from Foxmar, or that Cole quit two full-time jobs after

leaving Foxmar. JA367-70.

        Heaps also did not actually review the relevant contract between the USDOL

and Foxmar (JA358-59), and thus while he opined that Cole would have received

2.5% annual raises, that opinion was incorrect because such raises were not in the

contract (JA862-923). Nor did Heaps consider the fact that since the government

contract with Foxmar was limited in time (an initial two-year term, renewable up to

a total of five years), another company other than Foxmar could be the employer at

Northlands upon contract expiration. JA360-61, 862-923.




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        The evidence at trial established that before Cole started working at Foxmar

in June 2018, he had approximately one job every three years. JA170-73. After

leaving Foxmar up until the time of trial in July 2021, he had approximately one job

every three months. JA173-79.

        Finally, at the time of trial in July 2021, Cole had just started working full-

time at the Burlington Hilton since July 9, at the rate of $25 per hour, with benefits.

JA162. However, evidence introduced at the December 2022 damages retrial

showed that shortly after the July 2021 trial, just seven weeks after starting the Hilton

job, Cole quit to move to Michigan to be with his wife, giving notice on August 27,

2021 that he was quitting as of the following day. JA1052.

    F. Evidence Regarding Punitive Damages
        Cole proffered the following evidence in support of his claim for punitive

damages:8

        • Cole’s termination letter contained errors, stating that he left his shift early

             on July 23, as opposed to the correct date of July 24. In addition, his letter



8
  Cole also offered additional evidence from Grangent in support of his claim for
punitive damages, but such evidence was flatly contradicted. For example, Grangent
testified at trial that she did not want to fire Cole but was forced to do so (JA258,
305-06), which directly contradicts her contemporaneous email in which she makes
clear she wanted to terminate Cole for job abandonment (JA826). Likewise,
Grangent testified at trial that she had told Harmon about Cole’s complaints before
Cole’s termination (JA302-03), but at her deposition had testified she had not done
so (JA303-05).
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             stated he was supposed to work on July 24 and 25 and did not do so. JA774.

             Foxmar’s explanation for this error was that the letter was drafted based

             upon Mobley’s original email containing the error (JA824), and that the

             company was still in the midst of scheduling confusion after just taking

             over Northlands (JA299, 427, 458-59, 509-12).

        • Grangent testified that an individual from Foxmar’s corporate office told

             her not to report a student who had a knife with a three-inch blade to the

             USDOL because he was “a pretty good student.” JA273-75.

        • Grangent testified, over Defendant’s objection, that somebody in the

             cafeteria told her that the food quality was poor and that students were

             getting sick from it. JA276-81.

        • Howell testified that in September 2018 (several months after Cole’s

             termination) that she saw what she believed to be mold in the dorm, and

             she and another employee noted it in the dorm log, and that a supervisor

             told her and the other employee to make those reports verbally, as opposed

             to in the dorm log. JA328-29. Howell also testified that after Mobley was

             terminated, Brookes told the employees to “stop making petulant

             complaints and acting like children.” JA324-25.

        At the close of evidence, Defendant moved to preclude the jury from

considering the issue of punitive damages. The district court agreed that Cole had


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not presented evidence sufficient for punitive damages on his VOSHA claim (that

he was terminated in retaliation for complaining about safety issues), but if the jury

found that Cole had established his VESTA claim (that he was terminated in

retaliation for complaining about employees having to find replacements before

going home sick), that the jury could consider punitive damages. July 2021 Trial

Transcript pp. 818, 903.

        Cole’s counsel did not provide a proposed punitive damages amount in his

initial closing argument. When he went to do so on rebuttal, counsel for Foxmar

objected on the basis that he waived his ability to do so, but the district court

overruled the objection, and Cole’s counsel asked the jury to award $3.5 million in

punitive damages, a number to which Foxmar could not respond. JA640-42. And

during oral argument on Defendant’s motion to set aside the verdict, the district court

stated that it believed that Cole’s counsel engaged in “a deliberate strategy” to

withhold the requested punitive damages amount for the rebuttal closing argument.

JA647.

    G. Initial Trial Verdict, Order on Verdict, and Damages Retrial

        As stated above, the jury in the July 2018 trial awarded $140,943 in back

wages, $75,000 in emotional distress damages, and $3 million in punitive damages.

Upon Defendant’s motion, the district court kept the liability verdict in place, but

ordered a retrial on damages.


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        At the outset of the December 2022 damages retrial, Foxmar moved in limine

to exclude testimony regarding the quality of the food and the instance of a student

bringing a knife with a three-inch blade to the Northlands campus as irrelevant and

prejudicial; the district court granted the motion, even going so far as to label them

“inflammatory.” JA675; see also JA666-77. And after presentation of the evidence,

the jury awarded Cole $35,000 in back pay, $20,000 in emotional distress damages,

and no punitive damages.

        This appeal followed.

                             SUMMARY OF ARGUMENT

        Foxmar’s argument is quite straightforward. The standard of review is abuse

of discretion, and the record is clear that based on the evidence before it and Vermont

state law, the district court did not abuse its discretion in setting aside the jury’s

compensatory and punitive damages awards, ordering a new trial for damages, and

excluding irrelevant and prejudicial hearsay evidence from the damages trial.

                               STANDARD OF REVIEW

        This Court has described the standard of review of a district court’s decision

to grant a new trial as follows:

        Our review of a district court's decision to grant a Rule 59(a) motion is
        deferential; we will reverse only for abuse of discretion. See
        Amorgianos v. National R.R. Passenger Corp., 303 F.3d 256, 261 (2d
        Cir.2002). A district court abuses its discretion when “(1) its decision
        rests on an error of law (such as the application of the wrong legal
        principle) or a clearly erroneous factual finding, or (2) its decision—

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        though not necessarily the product of a legal error or a clearly erroneous
        factual finding—cannot be located within the range of permissible
        decisions.” Zervos v. Verizon N.Y., Inc., 252 F.3d 163, 169 (2d Cir.
        2001) (footnotes omitted).

Manley v. AmBase Corp., 337 F.3d 237, 245 (2d Cir. 2003).

        But the standard of review does not end there. Because the two claims at issue

were claims under Vermont state law, the district’s court role in considering the Rule

59 motion was “to determine whether the jury’s verdict [was] within the confines

set by [Vermont] state law,” and it is that determination that this Court is asked to

review under the abuse-of-discretion standard.9 Gasperini v. Center for Humanities,

Inc., 518 U.S. 415, 435-39 (1996) (quoting Browning-Ferris Indus. of Vt., Inc. v.

Kelco Disposal, Inc., 492 U.S. 257, 279 (1989)).




9
  Cole mostly agrees that the abuse-of-discretion standard applies here, with one
exception: he states that “courts of appeals should apply a de novo standard of review
when passing on district courts’ determinations of the constitutionality of punitive
damages awards.” Cole Br. 14-15. This is correct. However, the district court
considered the punitive damages award “manifestly and grossly excessive under
both Vermont law and the Due Process Clause.” JA56 (emphasis added). As the
district court analyzed the size of the punitive damages award under Vermont State
law, such analysis is subject to the abuse-of-discretion standard, not the de novo
standard. Gasperini, 518 U.S. at 435-39; Browning-Ferris, 492 U.S. at 279.
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                                     ARGUMENT

I.      The District Court Did Not Abuse Its Discretion in Overturning the
        Damages Award.

     A. The District Court Did Not Abuse Its Discretion In Overturning The
        Compensatory Damages Award.
        Cole’s argument that the district court should not have overturned the

compensatory damages award is wholly divorced from the abuse-of-discretion

standard. Instead of making the case that the district court committed an error of law,

that it made a clearly erroneous factual finding, or that its decision was outside the

range of those permissible, he merely recites the same arguments from trial. Cole

Br. 15-28.

        To the extent that Cole attempts to argue that the district court made a clearly

erroneous finding of fact or law, he fails. He first argues that the district court should

not have considered the evidence presented at trial about the high turnover at

Northlands (Br. 18-19); specifically, that of all the Residence Counselors who were

at Northlands when Cole was there in July 2018, none were still working in those

position at the time of trial three years later. JA522-23; 945-46. Cole presents

nothing to show this fact was incorrect, and no cases to say that courts should not

consider that fact; to the contrary, the Eleventh Circuit affirmed a decision of the

district court to limit back pay based on evidence of the average work tenure of

employees similarly situated to the plaintiff. E.E.O.C. v. Mike Smith Pontiac GMC,



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Inc., 896 F.2d 524, 530 (l1th Cir. 1990). And it simply defies logic to claim that the

employment length of other Residential Counselors is not relevant; it is simply

Cole’s opinion that it is not.

        Cole also argues that the district court should not have found that Cole asked

to be reassigned to a lower-paying position. Br. 20. But Foxmar presented evidence

at trial that if Cole’s transfer request had been granted, “he would have had to take

a pay cut” to a position of senior cook, making about $37,000 per year. JA448-49;

562-63; 856-57; 932. Thus, the district court’s finding was not erroneous, much less

clearly erroneous.

        Cole then attempts to argue that the district court should not have considered

the uncontested evidence in the record that Cole averaged one job every three years

prior to working at Foxmar, and then one job every three months after leaving

Foxmar. Br. 21-24. Again, this is merely Cole’s opinion, not based upon fact or

law—and indeed, the Vermont Supreme Court has stated on numerous occasions

that “the length of employment prior to termination is a factor bearing on the

determination that a front pay damage award is reasonable and not too speculative.”

Havill v. Woodstock Soapstone Co., 177 Vt. 297, 308–09 (2004) (citing Trombley v.

Southwestern Vt. Med. Ctr., 169 Vt. 386, 398, (1999) and Haynes v. Golub Corp.,

166 Vt. 228, 238 (1997)). Again, the district court made no factual or legal error in

considering Cole’s job-hopping history to come to the conclusion that “no rational


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view of the evidence supports a conclusion that Plaintiff would have worked at

NJCC until he was seventy.” JA51-52.10

        Finally, Cole entreats the Court to consider that the jury’s award was “only

$4,227 more” than the amount of $136,716 listed in Plaintiff’s expert’s table if

Plaintiff worked to the age of 70. Br. 26; JA848. As an initial matter, this is

misleading. The district court held that the issue of how much interest to award was

an issue for the court, and not plaintiff’s expert, and thus the totals that the expert

had calculated, which factored in 12% interest, would be redacted and not provided

to the jury. JA577-85. Thus, columns 8-12 of Heaps’ report were not provided to the

jury, and for the jury to award wages for Cole to the age of 70, it would have had to

sum all of the values in column 7. JA577-85, 841, 848. That total is $97,267, which

means the jury’s award of $140,943 was $43,676 more than what Cole’s expert

calculated Cole was due if he had worked to the age of 70, without interest

considered.

        There is simply no way to know how the jury arrived at such an unsupported

result, and that, in itself, justifies the district court’s decision to overturn the

compensatory damages award. Indeed, such a result was required under Vermont

law: “When front pay is allowed, the damages must be limited to a reasonable period


10
  Indeed, the district court’s conclusion was further borne out by facts subsequent
to trial: Cole quit his job to move to Michigan to be with his wife in August 2021.
JA1052.
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of time, and the amount must not be speculative.” Haynes, 166 Vt. at 238 (citation

omitted). In Haynes, the plaintiff calculated the back and front pay due to plaintiff

working to the age of 65 to be $140,503, id. at 237-38, and the jury awarded

$175,000. While the difference was less than $35,000, the court found that the award

was excessive because it was not supported by the evidence in the record, and was

thus speculative:

        We conclude that the award of front pay in this case was too speculative
        because it exceeded the amount claimed by plaintiff, who requested
        damages based on a normal retirement age of sixty-five years. … There
        was no evidence, however, that plaintiff planned to work beyond age
        sixty-five. … Thus, even when we view the evidence in the light most
        favorable to plaintiff, as we must, we do not believe that the $175,000
        verdict was within the range of the evidence presented

Id. at 238.

        So too, here. Viewing the evidence in the light most favorable to Cole,

crediting all of Heaps’ testimony, without considering interest as that is an issue for

the court to consider, the most the jury could award Cole assuming he would work

to 70 was $97,267. Instead, the jury awarded him $140,943, almost one-and-one-

half times that amount. There is simply no evidence in the record to support such an

award, and pursuant to Vermont law set forth in Haynes—to which Cole has no




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response (see generally Appellant’s brief),11 the district court was required to find

the award to be excessive, and thus did not abuse its discretion in doing so.

     B. The District Court Did Not Abuse Its Discretion In Overturning The Punitive
        Damages Award.

        Appellant spends over 20 pages of his brief rehashing his failed argument for

why the district court should allow punitive damages to be awarded in the first

instance (Br. 28-50)—as opposed to addressing the applicable standard before this

Court, which is whether the district court abused its discretion in setting aside the

punitive damages award. Once Appellant finally does address the relevant standard

(Br. 50-56), he presents cursory arguments contending that the court made errors in

fact and law in arriving at its decision, but each of these arguments do not withstand

a passing breeze.




11
  None of the cases Appellant cites applies Vermont law, as Gasperini requires, (Br.
26-28) except for Appellant’s citation to Havill v. Woodstock Soapstone Co., 181
Vt. 577 (2007), for the proposition that the calculation of lost wages is “‘inherently
speculative’ and ‘[a] reasonable estimate based on the
evidence is all the law requires . . ..’).” Br. 28. This quotation is misleading out of
context. In the 2007 Havill case cited by Appellant, the Vermont Supreme Court
found that the trial court “carefully considered the evidence” and “weigh[ed] the[]
conflicting proofs.” 181 Vt. at 579-580. Thus, the court did not disturb the damages
award because it was supported by the evidence presented at trial. And indeed, the
2007 Havill case cites a previous decision in the matter by the Vermont Supreme
Court that while front pay awards cannot be “calculated with mathematical
certainty” and have an element of speculation to them, the district court’s ruling on
any such awards must be based “in light of the evidence.” 177 Vt. at 310-311.
Appellant’s citation to the 2007 Havill case does not change that fact.
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        At the outset, Appellant claims that the district court erred in stating that the

relevant conduct was limited in scope and duration. Br. 51. And yet, in support of

this argument, Appellant goes on to cite the fact that Foxmar had been in business

for 27 years, and oversaw nine campuses across the country (51)—missing the point

that with that long history there is no evidence in the record of any other employee

being disciplined, much less terminated, for making a safety-related complaint, or a

complaint that employees had to find a replacement before going home sick. Thus,

the district court’s conclusion that the conduct was limited in scope and duration was

wholly accurate. And while Appellant also tries to argue about the risk of possible

future harm to other employees (Br. 51), it bears repeating that the first trial took

place in July 2021 and the damages retrial took place in December 2022—and at

neither trial did Cole present evidence that any other employee was disciplined or

terminated for making a safety or sick-leave complaint in the four-and-one-half

years since his termination in July 2018. If there was any risk of future harm, surely

it could have presented itself within that time, but there is no evidence of any such

risk. In short, the district court’s statement that Foxmar’s conduct was “limited in

scope and duration” (JA51) was not clearly erroneous.

        Appellant then contends that it was “irrelevant” for the district court to

consider the fact that he was a probationary employee. Br. 51-52. But there is no

dispute that the law required the district court to consider “the degree of


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reprehensibility of the defendant’s conduct” in order to determine whether the

punitive damages award was reasonable. Shahi v. Madden, 183 Vt. 320, 334 (2008)

(quoting State Farm Mutual Automobile Ins. Co. v. Campbell, 538 U.S. 408, 419

(2003)). Accordingly, the district court considered the evidence presented by

Foxmar of its non-retaliatory reasons for Cole’s termination, including his

abandonment of his shift on July 24, 2018, and the discipline he had previously

received at Northlands before Foxmar operated the campus. JA53. Appellant does

not dispute that it was proper for the district court to do so. See generally Br. The

fact that Cole was still a probationary employee was simply additional evidence of

non-retaliatory reasons for termination. See JA824 (July 27 email from Mobley to

Brookes): “All staff are on a 90 day probation period and he has not fulfill (sic) his

probationary period. He abandon (sic) his job and I had to quickly fill his shift to

provide safety and security for students during the prime shift.” Simply put, it was

not an error of law for the district court to consider this fact.

        Appellant also argues that the court erred in stating that Foxmar was seeking

to establish higher standards at the Northlands campus. Br. 52. This argument is

simply laughable. The evidence showed that Foxmar did not just seek to establish

higher standards at Northlands, but that it accomplished this mission, moving

Foxmar’s bottom-basement ranking in July 2018 to middle of the pack by July 2021,




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and to number 6 in the country by the end of 2022. JA507-08; see supra note 6. That

the district court recognized this fact was not clearly erroneous.12

        Appellant then claims it was error for the district court to consider the fact that

Foxmar presented evidence that the error in Appellant’s termination letter was made

in good faith. Br. 53. There is no dispute that the jury did not credit that evidence in

finding liability against Foxmar – but there is no case that states the district court

may not consider that same evidence when determining the degree of

reprehensibility of the conduct. And there is no dispute that Foxmar presented such

evidence. Compare JA774 (Cole’s termination letter) with JA824 (Mobley’s email



12
   In attempting to argue that the district court erred in finding Foxmar was seeking
to improve conditions at Northlands, Appellant repeats a litany of supposed
horribles, but each of these boogeymen vanish when compared to the record. Br. 52.
He claims Foxmar “cut[] the Safety Officer position” – but it simply combined the
position with the property manager position, and Appellant’s own witness admitted
that only a part-time position was needed at a minimum. JA283. He cites “drastically
cutting food costs,” “poor food quality,” and the student with a three-inch blade not
being reported to the DOL, but that was irrelevant hearsay (JA273-74, 277-78),
which is why the district court disallowed such testimony at the damages retrial. He
cites “failing to provide cleaning supplies,” when the evidence showed that
Appellant was able to keep his dorm fully stocked with cleaning supplies (JA197);
it was only when he covered another Resident Counselor’s (Howell’s) dorm that he
found that she had not ordered supplies as required, so Mobley (not Appellant)
quickly provided them (JA 92, 187, 193). He claims Foxmar “fail[ed] to address
mold” – but there is no evidence in the record that whatever Howell found, even if
it was mold, was not cleaned after it was found. He claimed Foxmar “impos[ed] an
unlawful sick leave policy on employees” – and yet his own witness testified
repeatedly that an employee needing to find their own replacement was not the
policy of Foxmar (JA251, 300, 302), and that when Foxmar learned that Howell was
sick on July 24, Brookes sent Howell home (JA319-20, 434-35).
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containing the same errors) and JA299, 427, 458-59, 509-12 (testimony regarding

confusion over scheduling when Foxmar took over operations at Northlands in June

2018). Thus, the district court committed no error of law.

        Flailing about for some basis for restoring the punitive damages award,

Appellant then makes a statement that must be called out for what it is: a whopper.

Appellant states that it was “erroneous” for the district court to find that “there was

no evidence that other employees had been disciplined or terminated” for making a

complaint. Br. 53. In support of this fatuity, Appellant lists several citations to the

record, curiously without any explanation of their contents or import. We therefore

examine each, in turn. JA273-76 is Grangent’s testimony about the student with the

three-inch blade, and contains no evidence of an employee being disciplined or

terminated. JA280-81 is Grangent’s testimony about poor food quality, and contains

no evidence of an employee being disciplined or terminated. JA324 is Howell’s

testimony that she felt Mobley and Brookes told employees they should not make

complaints—but again, contains no evidence of an employee actually being

disciplined or terminated for doing so. And JA329 is Howell’s testimony about

Bezon telling her she shouldn’t have listed mold in the dorm log, something that

Howell considered to be a verbal reprimand, not that it was a verbal reprimand. And

indeed, Howell testified that she was not disciplined for making complaints to

Mobley, or her replacement, Burditt. JA326-27, 330-31.


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        That leaves Appellant’s citation to JA297. This contains Grangent’s testimony

that Foxmar terminated her, and that she felt her termination was not justified. There

can only be one reason Appellant cited this testimony: Appellant is attempting to

imply to this Court that Grangent was terminated in retaliation for making safety

complaints. Let us leave aside that there is no allegation of this in the instant

complaint. Let us leave aside that there is no evidence in the record of this. 13 What

we cannot leave aside, however, is that this very issue was litigated in the court

below, and Appellant did not appeal this ruling.

        To summarize pages of argument, at the damages retrial Appellant attempted

to elicit testimony from Grangent that she was terminated in retaliation for making

safety complaints. Foxmar objected on the basis that at her deposition, Appellant’s

counsel had precluded Grangent from testifying to this very issue, citing attorney-

client privilege. The district court ruled that Appellant could not use the privilege as

sword and shield, and despite Appellant’s multiple attempts to revisit and work

around the district court’s ruling, the court repeatedly informed Appellant that

Grangent could not provide testimony implying she was terminated in retaliation for



13
   At the initial trial, when the parties were conferring with the Court regarding
admission of the disputed food evidence, the Court asked counsel for Appellant
whether Grangent would testify that she was retaliated against. Counsel responded,
“I’m not sure, your Honor. I can ask her if she feels she’s been retaliated against.”
JA289-90. However, he did not do so, limiting his question to whether Grangent felt
her termination was justified.
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making safety complaints. December 2022 Trial Transcript pp. 186-97, 301-06, 323-

31, 334 (Doc. No. 224). Given Appellant’s previous objections to questions of

Grangent regarding the reason for her termination, and the district court’s

evidentiary ruling on this issue that Appellant did not appeal, Appellant cannot now

claim, state, imply, allege, or suggest that Grangent’s termination was somehow

retaliatory or supports a non-existent “pattern” of retaliation. And the district court

did not err in its finding that there was not evidence of any other employee being

disciplined or terminated for making a complaint.

        Appellant next contends the district court committed legal error by

considering the amount of penalties available under VOSHA and VESTA, stating

that such penalties were not “comparable” (Br. 54-56)—but Appellant’s claims were

brought under VOSHA and VESTA. And while the penalties apply if the state finds

a safety violation (VOSHA) or that a company requires employees to find

replacements before going home sick (VESTA)—as opposed to retaliating against

employees for complaining about such an issue—it is lunacy to attempt to argue that

the penalties associated with the underlying VOSHA and VESTA issues have no

relevance to retaliation claims brought under VOSHA and VESTA.14


14
   In the case that Appellant cites as an example of this Court finding the statutory
penalty was not comparable, the defendant engaged in massive fraud, including
filing false criminal charges against senior executives of Motorola and Nokia, to
swindle those companies out of two billion dollars, as opposed to using “false
advertising in promotional give-aways” as contemplated by the state statute.
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        Finally, Appellant does not mention the district court’s consideration of the

fact that the jury’s punitive damages award was “one of the largest employment

verdicts in Vermont history.” JA53. Indeed, a search of Vermont cases shows the

jury’s original verdict was the largest employment verdict in state history. Not only

that, but also there are only three Vermont cases awarding punitive damages for

retaliatory discharges, with amounts much, much less than $3 million:15

        • In Bain v. Wrend, No. 15-CV-202, 2019 WL 7972050 (D. Vt. 2019), a jury

             awarded a union employee who successfully alleged he was terminated in

             retaliation for exercising his First Amendment rights $75,000 in punitive

             damages.

        • In Delosa v. Burlington Elec. Dept., 2003 WL 25930959 (Vt. State Ct.

             2003), a jury awarded an employee who was terminated two weeks after

             complaining about sex discrimination $100,000 in punitive damages.

        • And in Fernot v. Crafts Inn, Inc., 1994 WL 766829 (Vt. State Ct. 1994), a

             jury awarded an employee who was terminated after complaining about

             sexual harassment $95,000 in punitive damages.




Motorola Credit Corp. v. Uzan, 388 F.3d 39, 42-44, n.9 (2d Cir. 2004). There is no
such chasm between the relevant conduct and the statutes governing that conduct
here.
15
   The Vermont jury verdicts database in Westlaw was searched for any cases
containing both “punitive” and words starting with “retaliat,” “terminat,” or “fire.”
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Simply put, Appellant cannot credibly claim that the $3,000,000 punitive damages

award for employment retaliation was not an outlier among Vermont verdicts. The

district court was well within its discretion to find the award grossly excessive, and

to order appropriate relief.

        In sum, Appellant provides no basis for the Court to conclude that the district

court committed legal error, made a clearly erroneous factual finding, or that its

decision was outside the permissible range of decisions. For all these reasons, the

district court’s order setting aside the compensatory and punitive damages verdict

and ordering a new damages trial should be upheld.


II.     The District Court Did Not Abuse Its Discretion in Ordering a New
        Trial Instead of Remittitur.

        Appellant contends that the district court abused its discretion in ordering a

new trial for damages instead of granting remittitur. Br. 56. This argument is

practically nonsensical, which is why Appellant can cite no case for the proposition

that a district court abused its discretion in ordering a new trial instead of remittitur.

        The Reexamination Clause of the Seventh Amendment “does not inhibit the

authority of trial judges to grant new trials for any of the reasons for which new trials

have heretofore been granted in actions at law in the courts of the United States. That

authority is large.” Gasperini v. Center for Humanities, Inc., 518 U.S. 415, 433

(1996) (citation omitted). As the Supreme Court stated in Gasperini, “‘The trial


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judge in the federal system,’ we have reaffirmed, ‘has ... discretion to grant a new

trial if the verdict appears to [the judge] to be against the weight of the evidence.’”

Id. (quoting Byrd v. Blue Ridge Rural Elec. Cooperative, Inc., 356 U.S. 525, 540

(1958)). Accordingly, “[t]his discretion includes overturning verdicts for

excessiveness and ordering a new trial without qualification, or conditioned on

the verdict winner's refusal to agree to a reduction (remittitur).” Id. (emphasis

added).

        Without qualification means without qualification. There is no qualification

to the district court’s ability to order a new trial if the jury’s verdict is against the

weight of the evidence. That is why Appellant cannot cite, or find, any cases for the

proposition that a court abused its discretion by ordering a new trial for damages as

opposed to remittitur. There are cases for the counterfactual – whether a district court

abused its discretion in ordering remittitur instead of a new trial – on the basis that

it is not appropriate for a court to grant remittitur when there has been prejudicial

error in the trial, because in such cases, any proposed remittitur would be “totally

out of proportion” with the initial award. See Ramirez v. New York City Off-Track

Betting Corp., 112 F.3d 38, 40 (2d Cir. 1997); Werbungs Und Commerz Union

Austalt v. Collectors' Guild, Ltd., 930 F.2d 1021, 1027–28 (2d Cir. 1991).

        So too, here. A review of other employment retaliation damages awards in

Vermont suggests the maximum possible punitive damages award would be in the


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neighborhood of $100,000. Indeed, the December 2022 jury that did not hear the

irrelevant and prejudicial testimony about students supposedly being served food

“not as good as prisoners were fed” (JA279-80), and that was another year-and-a-

half removed from the COVID pandemic,16 found that Plaintiff was entitled to no

punitive damages. Thus, any such remittitur that the district court would have

ordered would have been quite substantial to get from $3,000,000 down to the

neighborhood of $100,000, and thus “totally out of proportion” with the $3 million

originally awarded, making remittitur inappropriate.

        Appellant’s argument that the district court should not have ordered a new

trial for damages, and should have provided a remittitur instead, raises another

question—what remedy is Appellant seeking? To the extent that Appellant contends

that the district court should have provided a remittitur, there is no evidence that

Appellant would have accepted it. Indeed, Appellant rejected an offer for $375,000

(JA 19, Docket No. 215); there is no reason to believe Appellant would have


16
    The likely impact of the COVID pandemic on the original jury cannot be
overstated. COVID was the first thing that the district court covered with the jurors
during orientation. July 2021 Trial Transcript, p. 3 (“I want to talk about COVID
first.”). All jurors and counsel were masked, unless counsel was at a lectern behind
plexiglass. Id. at 106 (“Before we start opening statements, I want everybody to do
a mask check. Make sure you have your mask above your nose, and we will go
forward ...”). In 2018, it was not unusual for people to report to work while not
feeling well. See JA183-84 (Cole’s testimony that he and other employees would
report to work not feeling well before the pandemic). But in the throes of the COVID
pandemic, when the first trial took place, it was unthinkable to report to work with
a cold, cough, fever, sore throat, or upset stomach.
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accepted a remittitur below that amount. And had Appellant rejected any conditional

remittitur, the only course of action then would be to have a trial for damages—but

that has already taken place.

        Also, while Appellant generally asks the Court to “grant remittitur,” he

specifies no amount.17 Br. 62. We imagine that if the Court were to grant a

conditional remittitur of $55,000, Appellant would reject it—and again, the remedy

would normally be a damages trial, but that has already taken place.

        Because the district court had the discretion “without qualification” to order a

new trial upon finding the jury’s award excessive, and because Appellant has no

remedy even if the district court should have provided a remittitur, the district court’s

order granting a new trial for damages should be upheld.


III.    The District Court Did Not Abuse Its Discretion in Excluding Irrelevant
        and Prejudicial Evidence.

        Appellant contends that the district court erred in excluding evidence about

food quality at Northlands, and that it supposedly made students sick; and that the

district court erred in excluding evidence about the instance in which a student

brought a knife with a three-inch blade to campus, regarding which Grangent

claimed she was instructed not to report to the USDOL. Br. 60.




17
  Appellant cannot now request a particular remittitur amount for the first time in
his reply.
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        As an initial matter, the trial judge has broad discretion in the matters of

evidence rulings, and such rulings “requir[e] ‘manifest error’ to disturb them.”

Starter Corp. v. Converse, Inc., 170 F.3d 286, 292 (2d Cir. 1999) (quoting Proteus

Books Ltd. v. Cherry Lane Music Co., 873 F.2d 502, 514 (2d Cir.1989)).

        Appellant, however, shows no manifest error in the judge’s decision to

exclude these two items. First, there is the issue of relevance. This was a case of an

employee contending he was terminated because he complained about a lack of

cleaning supplies and employees finding their replacements before going home sick.

The quality of the hamburger meat eaten by students in the cafeteria, and whether a

student was provided a second chance instead of being ejected from the program for

bringing a small knife to campus are quite far afield from whether Appellant was

retaliated against, as the district court stated. JA666-67, 671.

        Second, there is the issue of prejudice. Appellant argues that the district

court’s decision to exclude the food and knife evidence was in error because it

reversed its decision in the prior trial to admit such evidence. Br. 60. That is bunk.

What occurred was that the district court recognized it had made an error and

corrected it.18 Indeed, at the first trial, when Appellant first elicited the food quality

testimony through Grangent and Foxmar objected based on relevance, a juror was



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  By Appellant’s logic, a district court could never revisit its prior rulings, an absurd
result. See also Fed. R. Civ. P. 60.
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recorded as stating “safety” for the reason the meat quality was relevant to

Appellant’s claim, showing how highly prejudicial that evidence was to the jury.

JA276. Thus, when the jury returned a verdict that had no connection to the evidence,

in an amount that surprised the district court (JA647), the court corrected the error,

first by setting aside the verdict, and then by excluding prejudicial evidence at the

damages trial that contributed to that verdict. At the hearing to set aside the verdict,

the district court found that the meat and knife evidence had “almost nothing to do

with this case,” were “inflammatory,” were “pure propensity evidence to establish

that the defendant in general is a bad employer,’” and were prejudicial. JA674-75,

677. Nothing in Appellant’s brief or arguments shows that this finding was in error,

much less manifest error.

        Third, there is the issue of hearsay. Appellant contends that the complaints

about the food should be allowed under a hearsay exception. Br. 60-62. But

Appellant’s proffer for the food complaints was Grangent testifying that the wellness

department was reporting to her that students were reporting to the wellness

department that the food was making them sick. JA668, 683-84, 695; December

2022 Trial Transcript pp. 298-300. That is not a present sense impression, something

the district court considered. JA684 (“Present sense impression has to be right at the

time. So they would have to be throwing up in the office as they're making the

complaint.”). That is not a medical statement, which again, the district court


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considered. Id. Reliable evidence that food was actually making a particular person

sick would be that person’s medical records or testimony, or the testimony of that

person’s medical provider, not the telephone-game testimony of someone who heard

from someone who heard from someone else that they might be sick.

        In short, Appellant’s contention that the district court excluding irrelevant,

prejudicial hearsay was somehow error, much less manifest error, is utterly baseless,

and there is no basis for disturbing the district court’s evidentiary rulings.

                                    CONCLUSION

        Appellant took a number of gambles in this case. He asked the jury for 35

times more in punitive damages than any employee suing for retaliation had ever

been awarded. He also waited until his rebuttal in closing arguments to disclose that

number. And at first, that gamble paid off: the jury awarded $3 million in damages.

        After the district court reversed the jury’s award, Appellant almost settled the

matter—but then went back to the betting table, pulling out of the settlement, and

turning down a $375,000 offer of judgment like a Deal or No Deal contestant

dreaming of a million-dollar suitcase. But this time, the gamble did not pay off, and

the jury issued an award that comported to the evidence presented at trial.

        And as much as Appellant would like to turn back the clock to the July 2021

verdict, the simple fact is that there is no evidence that the district court made any

legal error or clearly erroneous factual finding, or otherwise abused its discretion


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when it set aside the jury’s damages verdict, ordered a new trial on damages, and

excluded irrelevant, prejudicial hearsay at the damages trial. As a result, the decision

of the District Court should be affirmed, along with such relief the Court deems just

and proper.

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